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                                                                                 November 19, 2021

                                  Smith et al. v. Annucci et al.
                        1:21-cv-01715-RA [rel. 1:17-cv-07954-RA-OTW]

Dear Judge Wang:

               We submit this joint status letter in accordance with this Court’s October 28, 2021
Order. Below we address the status of: (1) Defendants’ response to the July 9, 2021 Amended
Complaint; and (2) Defendants’ document production in response to Plaintiffs’ July 30, 2021
requests for production.

               Background

                The Complaint in this case was filed about nine months ago on February 26,
2021, and the Amended Complaint was filed on July 9, 2021. Defendants have not yet answered
or moved to dismiss because the Office of Special Investigations (“OSI”) of the New York State
Department of Corrections and Community Supervision (“DOCCS”) has not completed its
investigation of Plaintiffs’ allegations (most of which were first made two and a half years ago).
Plaintiffs have consented to several requests for additional time to move or answer, most recently
on October 6, 2021. (See ECF No. 106.) The OAG has reported to Plaintiffs’ counsel that, as of
the date of this letter, OSI still has not finished its investigation into Plaintiffs’ allegations and
reports that the investigation will not be completed until the end of November, at which time, the
OAG will require an additional four weeks to complete its representational analysis.

               Defendants agreed to begin on September 30, 2021, a rolling production of
documents responsive to ten “priority” document requests. These document requests include,
among other things, records related to the investigation of Plaintiff Smith’s 2019 allegations of
rape and sexual assault, audiotape recordings of Plaintiff Smith’s disciplinary hearings and
records of the Defendants’ assigned posts. Since that time, Defendants have produced 33
documents to Plaintiffs, including 12 documents reflecting general DOCCS policies and
procedures, 15 training logs for some Defendants, a copy of the Prison Rape Elimination Act
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standards and a publicly available contract between New York State and the correctional
officers’ union. The remaining four documents are reports of OSI investigations, none of which
relate to Plaintiffs’ allegations of their rape and sexual assault.

               Plaintiffs’ Position

                 The pace and substance of Defendants’ investigation and document productions
have been inadequate. While the parties agreed that Defendants would begin rolling productions
of documents responsive to Plaintiffs’ discovery requests more than six weeks ago, including
“meaningful production of documents specific to the allegations in this case” (see ECF Nos. 94,
106-1 Ex. A (emphasis added)), Defendants have not produced any of the basic documentation
related to the core allegations in the case. Defendants’ failure to produce is not because these
documents do not exist. For example, we know that there are 12 documents related to
allegations of sexual assault against Defendant Sergeant B because DOCCS has disclosed this in
response to a FOIL request Plaintiffs made before filing the Amended Complaint. Plaintiffs also
believe based on representations from the OAG that DOCCS has documents prepared in 2019
related to the investigation of Plaintiff Smith’s 2019 rape allegations, which should be readily
producible.

               In addition to withholding core responsive documents, Defendants have produced
some materials with improper redactions. In particular, Defendants produced two OSI
Investigative Reports concerning allegations of sexual abuse and harassment against inmates
with the names of the victims redacted. In a November 17 meet-and-confer, the OAG explained
that the OAG did not view the name of the inmates as relevant to Plaintiffs’ claims.

              A party is generally not allowed “to redact information from admittedly
responsive and relevant documents ‘based on that party’s unilateral determinations of
relevancy.’” Christine Asia Co. v. Alibaba Grp. Holding Ltd., 327 F.R.D. 52, 54 (S.D.N.Y.
2018) (quoting Cyris Jewels v. Casner, No. 12-CV-01895, 2016 WL 2962203, at *4 (E.D.N.Y.
May 20, 2016)). Rather, a party wishing to redact information from otherwise responsive
documents must show “good cause”. Trellian Pty, Ltd. v. adMarketplace, Inc., No. 19 Civ.
5939, 2021 WL 363965, at *3 (S.D.N.Y. Feb. 3, 2021). Defendants have not and cannot make
such a showing.

                In any event, the identities of inmates at Bedford Hills Correctional Facility who
have alleged sexual abuse or harassment by prison staff are relevant to the claims in this action,
which concern the prevalence and disregard for sexual abuse on inmates by prison staff at
Bedford Hills. Relevance, for purposes of discovery, “is an extremely broad concept”. Jose Luis
Pelaez, Inc. v. Scholastic, Inc., No. 16-CV-02791, 2018 WL 1891116, at *1 (S.D.N.Y. Apr. 3,
2018) (quoting In re Namenda Direct Purchaser Antitrust Litig., No. 15-CIV-7488, 2017 WL
4700367, at *2 (S.D.N.Y. Oct. 19, 2017)). Plaintiffs need to be able to investigate allegations
similar to those in this case in order to assess the volume of credible complaints, who within
Bedford Hills was aware of the complaints, whether remedial action was or should have been
taken and the adequacy of the investigations undertaken by DOCCS and/or OSI. This
information is also relevant to whether there are additional witnesses to the incidents at issue in
this case and/or additional plaintiffs who may wish to join this action. To the extent Defendants
are concerned about these inmates’ privacy, a confidentiality order is in place to protect such
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information. See Durling v. Papa John’s Int’l, Inc., No. 16 Civ. 3592, 2018 WL 557915, at *9
(S.D.N.Y. Jan. 24, 2018). Therefore, Defendants should be required to produce responsive
documents without redactions on relevance grounds.

                For these reasons, Plaintiffs respectfully request an Order requiring the OAG to:
(1) complete its representational analysis by December 31, 2021 and to respond to the Amended
Complaint 30 days thereafter for any additional Defendants that the OAG determines it can
represent, in accordance with this Court’s Order dated August 23, 2021 (ECF No. 95); (2) re-
produce the Investigative Reports unredacted by November 26, 2021 and, going forward,
produce all such documents without redacting inmates’ names; and (3) produce (or otherwise
respond to) the following requests, which were among Plaintiffs’ priority requests, by December
17, 2021: (i) records related to allegations of sexual assault against Defendant Sergeant B; (ii)
records (and supporting documentation) related to Plaintiff Smith’s multiple 2019 allegations of
rape and sexual assault and the investigation thereof; (iii) records of the Defendants’
whereabouts and of the Defendants’ assignments and assigned posts during the times of the
incidents alleged in the Complaint; (iv) audiotape recording of the disciplinary hearings held on
April 22, 2019 and April 30, 2019, related to an incident involving Plaintiff Smith dated April 9,
2019; (v) floor plans showing the locations where the incidents described in the Complaint took
place and where cameras are placed; and (vi) records related to allegations of sexual misconduct
against the non-supervisory Defendants.

               Defendants’ Position

        Plaintiffs have raised several issues in their portion of this joint letter, including: (i) the
duration of OSI’s investigations into the claims of the plaintiffs and defendants’ response to the
Amended Complaint; (ii) the pace and substance of DOCCS’ production of documents responsive
to plaintiffs’ first set of requests for documents; and (iii) the alleged inappropriateness of this
Office’s redaction of the names of incarcerated individuals who were victims or witnesses to
misconduct in documents produced to plaintiff. Defendants will respond in turn to each.

A.      The OSI Investigations & Defendants’ Responses to the Amended Complaint

         With respect to the duration of the OSI investigation into the claims raised by the plaintiffs,
plaintiffs are correct that it has taken OSI longer to complete these investigations than initially
anticipated. However, that is not to say that OSI has been negligent in conducting these
investigations. Any number of things can delay an investigation, such as the inability to interview
necessary parties because they are out on sick leave. I have been in contact with OSI throughout
this process and have been assured that they take the plaintiffs’ allegations seriously and have
actively been working to complete their investigations. I was most recently informed by OSI that
it anticipates completing the investigations by the end of this month.

       With respect to defendants’ response to the Amended Complaint, this Office currently
represents five of the supervisory defendants: Annucci, Effman, Maher, Nunez, and Shipley. It is
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my intention to file responses on behalf of these defendants by November 30, 2021, consistent
with the Court’s October 12, 2021 Order to do so (ECF No. 107).1

        The length of time I anticipate needing to respond to the Amended Complaint on behalf of
the remaining defendants will depend on OSI’s determinations. OAG’s internal representational
analysis can only begin once OSI issues its determinations. As I explained to opposing counsel
during our last meet-and-confer, I have not yet spoken to these defendants because of ethical
concerns based on the possibility that, if OSI substantiates the claims against them, it could result
in a conflict-of-interest. If after OSI issues its closing reports, the OAG determines that it can
represent the remaining defendants, then I will need time to confer with these individuals with
respect to the claims against them and to then formulate a response. If the determination is made
that the OAG cannot represent any of the defendants, these individuals will need time to retain
counsel.

B        The Pace and Substance of DOCCS’ Response to Plaintiffs’ Document Requests

         Defendants dispute plaintiffs’ contention that the pace and substance of DOCCS’ document
production has been “inadequate.” Plaintiffs’ first set of document demands consists of forty-nine
separate requests, some with sub-parts. Counsel’s Office for DOCCS has been working diligently
to retrieve and produce the requested materials. However, many of the requested documents are
only available in paper format (as opposed to electronically) and, therefore, they have to be
physically retrieved, reviewed, and then produced. In addition, not all of the documents are stored
in DOCCS Central Office in Albany, which adds time to the process. In accordance with plaintiffs’
requests, I have asked Counsel’s Office to prioritize certain of the document demands, however,
it has been explained to me by Counsel’s Office that it can only produce the documents it itself
receives, in the order in which they are received. While plaintiff’s have expressed frustration at
receiving documents they consider to be “publicly available,” they have only themselves to blame
since they requested these materials. I have been advised by Counsel’s Office that they anticipate
sending me the next round of documents by the end of the month.

        Regarding plaintiffs’ FOIL request pertaining to allegations of sexual assault against
Defendant Sergeant B, DOCCS has provided me with the heavily redacted response it had intended
to serve on plaintiffs. I requested an unredacted copy of these materials so that I can produce them
in less-redacted form pursuant to the terms of the parties’ Stipulation of Confidentiality and am
waiting for those documents.

C.       The Redaction of Certain Information

       As plaintiffs have alluded to in their portion of this letter, there are essentially three
categories of responsive documents that I have served, and anticipate serving, in the future: (i)
documents involving allegations of wrongdoing by Bedford Hills staff having nothing to do with
sexual assault. For example, OSI investigations into claims of excessive force or harassment

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       The Court’s Order directed that all defendants respond to the Amended Complaint by November 30, 2021.
However, for the reasons set forth in this joint letter, the Office of the Attorney Genera (“OAG”) at this time can
only respond on behalf of defendants Annucci, Effman, Maher, Nunez, and Shipley. As a result, it is requested that
the time to respond for the remaining defendants be adjourned until a date to be set by the Court.
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against staff. These documents have been provided to me because they implicate one of the
plaintiffs as either the alleged victim or a witness; (ii) documents involving allegations of
wrongdoing by Bedford Hills staff dealing with sexual assaults involving incarcerated individuals
other than the plaintiffs; and (iii) documents involving plaintiffs’ claims of sexual assault.

        To date, DOCCS has only provided me with documents falling into the first and second
category. Documents pertaining to the third category have not yet been produced to me because
OSI has not yet closed its investigations into the plaintiffs’ claims. My production has consisted
of OSI closing reports or summary of closing reports as these are more readily available for
production. In this week’s meet-and-confer, I discussed with opposing counsel that for purposes
of time, I was producing these closing reports/summaries to ascertain, in the first instance, if they
wanted the entire file, which would take longer to produce. Counsel’s response was that they want
every single file for every single closing report/summary I have provided or will provide. I will
obtain these files and review them for relevance and will discuss my findings with opposing
counsel.

        Defendants do not dispute the case law cited by plaintiffs concerning the impropriety of
redacting information from otherwise “responsive and relevant” documents absent “good cause.”
Where we differ is whether the information I redacted – the names of inmates and inmate witnesses
from OSI files either having nothing to do with sexual assault or involving allegations of sexual
assault having nothing to do with the plaintiffs – is, in fact, responsive and relevant. Based on the
allegations in the Amended Complaint, I do not believe it is.

         According to plaintiffs, DOCCS staff have created a policy/custom encouraging or not
preventing the sexual assault of female incarcerated individuals. In particular, at Bedford Hills
Correctional Facility, staff, including the defendants herein, have been able to sexually assault
female incarcerated individuals based on things such as the lack of surprise supervisory rounds,
knowledge of locations throughout the facility lacking cameras, and the fact that male officers are
assigned to supervise female incarcerated individuals one-to-one in isolated areas. See generally
Amended Complaint. Plaintiffs also allege that certain of the defendants were notorious for having
had sexual relationships with other inmates. See Amended Complaint, ¶¶ 63 and 70. Based on
these allegations, what is “responsive and relevant” in this case is information pertaining to other
acts of sexual assault at Bedford Hills, such as the identity of the officers alleged to have committed
the sexual assaults, where in the facility the assaults took place, the frequency of supervisory
rounds, and DOCCS’ response to those allegations of sexual assault. Based on plaintiffs’ own
allegations, there is no reason to provide the names of other inmate victims or witnesses.

        Moreover, without “just cause,” the names of these victims and witnesses should not be
produced. A valid concern expressed by DOCCS is that if incarcerated individuals find out that
their identities are being made known as part of lawsuits not involving them, even with a
stipulation of confidentiality in place, they will be reluctant to report allegations of wrongdoing in
the future. Plaintiffs are familiar with these concerns, which is why they moved this Court to keep
their names anonymous in the publicly filed version of their complaints.

       Finally, defendants recognize that, in theory, it may not be appropriate to redact the names
of inmates in the OSI files pertaining to plaintiffs’ claims of sexual assault as those inmates may
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have information critical for the prosecution of this case. However, as these files have not yet been
produced to the OAG, I cannot comment on that at this time.

         For all of the foregoing reasons, defendants respectfully request that this Court issue an
Order: (i) permitting them to redact the names and identifying information of incarcerated
individuals who were the victims of misconduct, or who were witnesses to such misconduct, not
involving the allegations of the plaintiffs at issue in this case; (ii) directing the parties to file a joint
status letter by December 13, 2021, addressing the status of the OSI investigations/representational
issues as well as the production of documents responsive to plaintiffs’ requests; and (iii) stay the
date by which the remaining defendants are to respond to the Amended Complaint until after the
OAG has had a chance to review OSI’s determinations and the parties have submitted their joint
status letter in which the OAG will propose a response time.


                                                      Respectfully,



                                                      /s/ David M. Stuart_
                                                      David M. Stuart
                                                      Attorney for Plaintiffs

                                                      /s/ Neil Shevlin _
                                                      Assistant Attorney General Neil Shevlin
                                                      Attorney for Defendants


The Honorable Ona T. Wang
   United States District Court for the Southern District of New York
      Daniel Patrick Moynihan United States Courthouse
          500 Pearl St., Room 20D
              New York, NY 10007

VIA CM/ECF
